                                                               United States Bankruptcy Court
                                                                       Northern District of Ohio
            Calvin V. Westley, Sr.
 In re      LaShawn E. Westley                                                                               Case No.   16-10729
                                                                                  Debtor(s)                  Chapter    13


                                                                     Notice of Change of Address

Debtor's Social Security Number:                                        xxx-xx-6912

Joint Debtor's Social Security Number: xxx-xx-8664

My (Our) Former Mailing Address and Telephone Number was:

 Name:                                Calvin V. Westley, Sr. and LaShawn E. Westley

 Street:                              7254 Craigmere Drive

 City, State and Zip:                   Middleburg Heights, OH 44130

 Telephone #:

Please be advised that effective November 6, 2017,
my (our) new mailing address and telephone number is:

 Name:                                Calvin V. Westley, Sr. and LaShawn E. Westley

 Street:                                205 Jaycox Road

 City, State and Zip:                 Avon Lake, Ohio 44012

 Telephone #:




                                                                                         /s/ Calvin V. Westley, Sr.
                                                                                         Calvin V. Westley, Sr.
                                                                                         Debtor

                                                                                         /s/ LaShawn E. Westley
                                                                                         LaShawn E. Westley
                                                                                         Joint Debtor




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy




             16-10729-aih                 Doc 39            FILED 11/06/17            ENTERED 11/06/17 12:43:37            Page 1 of 1
